 

 
 

IN THE UNITED STATES DISTRICT COURH

 

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION

UNITED STATES OF AMERICA,

Vv.

REGINALD B. BENNETT,

Plaintiff,

 

MAY - 9 2014

 

 

TERESA L. DEPPNER, CLERK
US. District Court
Southern District of West Virginia

CRIMINAL ACTION NO. 2:13-cr-00320

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant.
EXHIBIT LIST
Gov’t | Def’t Date Date Description Location*
No. No. | Identified | Admitted
1 5-8-14 5-8-14 | photo of bmw Clerk
2 5-8-14 5-8-14 | photo of back of car with license plate 1JY401 | Clerk
3 5-8-14 5-8-14 | photo of car with door open Clerk
4 5-8-14 5-8-14 | photo of soda can Clerk
5 5-8-14 5-8-14 | photo of top of soda can Clerk
6 5-8-14 5-8-14 | photo of firearm Clerk
1 5-8-14 5-8-14 | photo of google map Clerk
2 5-8-14 5-8-14 | Charleston Police Department Incident Report | Clerk
Narrative
3 5-8-14 5-8-14 Charleston Police Department General Clerk
Investigative Supplementary Report dated
September 13, 2013 written by Det. CM
Whittington
4 5-8-14 5-8-14 arrest warrant dated January 2, 2014 Clerk

 

 

 

 

 
 

5 5-8-14

 

 

 

 

5-8-14

 

Charleston Police Department General
Investigative Supplementary Report dated
September 12, 2013 written by SPTLM JM
Redden

 

Clerk

 

*Location options: Clerk; U.S. Atty; U.S. Marshal; Pl. Atty; Def. Atty; agency

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